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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:
MIDNIGHT MADNESS DISTILLING LLC,                              CHAPTER 7
                                                              Case No. 21-11750-PMM
                       Debtor.




BONNIE B. FINKEL, in her capacity as Chapter 7                Adv. No. 23-00047-PMM
Trustee for Midnight Madness Distilling LLC,

                       Plaintiff,
               v.

CASEY PARZYCH, et al.,

                       Defendants.

                                        STIPULATION

       It is Stipulated by and between the parties to this action, by and through undersigned

counsel, as follows:

       WHEREAS all defendants have filed Answers (D.I. 46 and 69) to the Trustee’s

Amended Complaint (D.I. 44);

       WHEREAS the Court held a status conference on February 19, 2025 at which counsel

discussed their agreement on a proposed scheduling order and at which the Court requested

submission of the proposed scheduling order for its consideration;
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       AND NOW the parties hereby stipulate that an agreed proposed scheduling order is

attached hereto as Exhibit A for consideration by the Court.

/s/ Joseph R. Heffern                 /s/ Steven L. Caponi         /s/ Andrew J. Belli
Joseph R. Heffern                     Steven L. Caponi             Andrew J. Belli
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                                      Angus Rittenburg; Ashleigh   Bonnie Finkel, Chapter 7
                                      Baldwin; R.F.                Trustee
                                      Culbertson; Michael Boyer;
                                      Kelly Festa,
                                      Polebridge, LLC; Good
                                      Design, Inc.; AgTech
                                      PA LLC; AgTech VI, LLC;
                                      XO Energy
                                      Worldwide, LLLP; XO EW,
                                      LLC; Best Bev,
                                      LLC; EtOH Worldwide,
                                      LLC; and Canvas 340
                                      LLC

/s/ Hal Pitkow
(entry of appearance forthcoming)
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T. Parzych, Inc.; and Finland
Leasing Co. Inc.
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                      Exhibit A
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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:
MIDNIGHT MADNESS DISTILLING LLC,                                 CHAPTER 7
                                                                 Case No. 21-11750-PMM
                      Debtor.




BONNIE B. FINKEL, in her capacity as Chapter 7                   Adv. No. 23-00047-PMM
Trustee for Midnight Madness Distilling LLC,

                      Plaintiff,
              v.

CASEY PARZYCH, et al.,

                      Defendants.

                                      PRETRIAL ORDER

         AND NOW, the plaintiff having filed an adversary proceeding and the defendants having
filed a responsive pleading, it is hereby ORDERED that:


1.     If not already filed, any party that is subject to Fed. R. Bankr. P. 7007.1 shall file the
       required disclosure on or before February 28, 2025.

2.     On or before March 12, 2025, counsel shall have held and concluded the mandatory
       discovery conference pursuant to Fed. R. Civ. P. 26(f), incorporated into these
       proceedings by Fed.R.Bankr.P. 7026. Unless the parties take issue with the schedule
       outlined herein based on the outcome of the conference, no Rule 26(f) report need be
       filed.

3.     On or before April 2, 2025, the parties shall exchange initial disclosures pursuant to Fed.
       R. Civ. 26(a)(1).

5.     All fact discovery in this matter shall be initiated so that it will be completed on or before
       January 19, 2026.

6.     Any expert report required pursuant to F. R. Civ. P. 26(a)(2)(B) shall be served by the
       party which bears the burden of proof for that issue no later than February 19, 2026. If
       any party intends to provide expert testimony in rebuttal to any expert report, any such
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        rebuttal expert report must be served no later than March 13, 2026. All expert discovery
        shall be completed, and expert discovery shall close, by no later than April 13, 2026.

7.      All case dispositive motions shall be served and filed on or before May 15, 2026.
        Answering briefs shall be served and filed on or before June 15, 2026. Reply briefs shall
        be served and filed on or before June 29, 2026.

8.      This pretrial order is not intended to prejudice the parties’ ability to move for the
        withdrawal of the reference to the District Court.



Date:
                                               PATRICIA M. MAYER
                                               U.S. BANKRUPTCY JUDGE
